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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                   )
                                             )
       Plaintiff,                            )           No. 6:18-CV-279-REW
                                             )
 v.                                          )
                                             )                   ORDER
 THE UNKNOWN SPOUSES OF THE                  )
 UNKNOWN HEIRS OF BETTY                      )
 LOUISE PARKS,                               )
                                             )
       Defendants.                           )

                                       *** *** *** ***

       The United States filed its Complaint in this foreclosure action on October 29, 2018. DE

#1 (Complaint). On February 28, 2019, the Court granted the United States’s request for warning

order issuance and appointed warning order attorneys for all Defendants. DE #14. The Court

ordered warning order counsel to submit their reports within 60 days. Id. at 6. The Court has not

yet received a report (and affidavit supporting any sought payment) from counsel for the Unknown

Spouses of the Unknown Heirs of Betty Louise Parks per DE #14.

       Accordingly, the Court ORDERS counsel for this Defendant to submit the DE #14-

required documentation no later than May 17, 2019.

       This the 10th day of May, 2019.
